[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
This is an action for money damages on account of personal injuries allegedly sustained in a motor vehicle accident involving two vehicles. The plaintiffs have moved for permission to serve additional disclosure and production. The defendant objects.
Practice Book § 223 provides in relevant part: "In CT Page 9340 all personal injury actions except those alleging death or product liability, the interrogatories served shall be limited to those set forth in Practice Book Forms 106.10A and 106.10B, unless upon motion, the court determines that such interrogatories are inappropriate or inadequate in the particular action." (Emphasis added.) There is nothing in this "particular action" that renders the standard interrogatories "inappropriate or inadequate" The arguments advanced by the plaintiffs in support of their motion would apply in every motor vehicle accident case. To grant such motions as this, which cross the desks of superior court judges with ever increasing frequency, would undermine § 223. "Either we adhere to the rules or we do not adhere to them" Osborne v. Osborne, 2 Conn. App. 635, 639
(1984). "[T]his court does not sit as the Rules Committee of the Superior Court. See State v. Jennings, 216 Conn. 647, 665 n. 11,583 A.2d 915 (1990); Kupstis v. Michaud, 215 Conn. 435, 437,576 A.2d 152 (1990)." State v. Johnson, 228 Conn. 59, 61-62,634 A.2d 293 (1993).
The motion is denied.
BY THE COURT
Bruce L. Levin Judge of the Superior Court